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IN THE UNITED STATES DISTRICT COURT
F()R THE EASTERN DISTRICT OF PENNSYLVANIA

PATRICIA FLYNN and
WALTER FLYNN, HUSBAND
and WIFE

10397 South Dupont Highway
Felton, Delaware 19943

V.

UNITED STATES DEPARTMENT
OF JUSTICE

200 Chestnut Street

Philadelphia, Pennsylvania 19106

FEDERAL BUREAU

OF PRISONS

200 Chestnut Street
Philadelphia, Pennsylvania 19106

And
ELIZABETH ATKINSON

2344 East Albert Street
Philadelphia, Pennsylvania 19125

CIVIL ACTION
NO.:

JURY TRlAL DEMANDED

COMPLAINT IN CIVIL ACTION ANI) .IURY I)EMANI)

Plaintiffs, Patricia and Wal`ter nynn, husband and Wife, by and through their

attorneys, Mattleman, Weinroth & Miller, P.C., hereby files this Complaint and

jury demand against The United States Departrnent Of Justice, the Federal Bureau

of Prisons, and Elizabeth Atkinson (hereinafter referred to collectively as

“Defendants”), and in Support thereof aver as follows:

 

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I. PRELIMINARY STATEMENT

l. This action is for claims arising out of an automobile accident Wherein
plaintiff Patricia Flynn Was lawfully, and carefully driving her motor vehicle
northbound on Route 95 through the city of Philadelphia near mile marker 29.2
When it Was struck by a motor vehicle owned by defendant United States
Department of Justice and defendant Bureau of Prisons, and then and there being
driven by defendant Elizabeth Atkinson, an employee of the defendant Untied
States Department of Justice and defendant Bureau of Prisons.

II. PARTIES

2. The plaintiffs are Patricia Flynn and Walter Flynn Who are adult
individuals and husband and Wife who reside at 103 97 South Dupont Highway,
Felton, Delaware and are citizens of the State of Delaware.

3. Defendant, the United States Department of Justice is a federal executive
department of the U.S. government With offices located at 200 Chestnut Street,
Philadelphia, Pennsylvania l9106.

4. Defendant, the Federal Bureau of Prisons is a subdivision of the U.S.
Justice Departnient With offices located at 200 Chestnut Street, Philadelphia,

Pennsylvania 19106.

 

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5. Defendant, Elizabeth Atkinson is an adult individual Who resides at 23 44
East Albert Street, Philadelphia, Pennsylvania 19125 and is a citizen of the
Cornmonvvealth of Pennsylvania.

III. JURISDICTION AND VENUE

6. This action is brought pursuant to 28 U.S.C. §1346 (b), that is,
negligence of an employee of the United States acting Within the scope of her
employment An Administrative Claim Was properly filed and Was denied on May
8, 2017; therefore the complaint is timely filed.

7. Venue properly lies in the United States District Court for the Eastern
District of Pennsylvania under 28 U.S.C. §1402 (b) because this case arises out of
an automobile accident Which occurred in Philadelphia, Pennsylvania.

IV. FACTS

8. On or about May ll, 20]6, plaintiff, Patricia Flynn Was lawfully
operating her automobile in a northerly direction on route 1-95 near mile marker
29.2in Philadelphia, Pennsylvania.

9. At or about the above time and place, defendant, Elizabeth Atil<inson Was
driving her automobile also in a northerly direction on route 1~95, Philadelphia,
Pennsylvania; Whereupon, the defendant so negligently and carelessly operated he
automobile as to collide With plaintiff as a result of Which the plaintiff sustained

personal injuries hereinafter more specifically set forth.

 

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lO.All of the acts alleged to have been done or not done were done or not
done by the defendants, their agents, servants, workmen or employees acting
within the course and scope of their employment on behalf of the said defendants

ll.At all times material herein, Elizabeth Atl<inson Was the agent, servant,
workman and employee of the defendants The United States Department of
Justice and the Federal Bureau of Prisons and was acting within the course and
scope of her office and/or employment on behalf of the said defendants

lZ.The negligence and carelessness of the defendants consisted of the
following:

a. causing a rear end collision:

b. failing to maintain proper lookout upon the highway and to cars
travelling thereon;

c. violation of the rules of the road;

d. violation of the assured clear distance rule;

e. driving too fast for conditions;

f. failing to regard the rights, safety and position of the plaintiff at the point
aforesaid.

13. As a result of the negligence and carelessness of the defendants,
plaintiff, Patricia Flynn sustained injuries to her body including but not limited her

head, necl<, shoulder, back, chest and elbow their nerves, cells, tissues, muscles and

 

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functions, as well as a possible aggravation of a pre~existing condition some or all
of which may be permanent in nature.

14. As a result of the negligence and carelessness of the defendants, plaintiff
Patricia Flynn has endured great physical pain and mental anguish and she may be
caused endure such pain and suffering for an indefinite time into the future.

15. As a result of the negligence and carelessness of the defendants,
plaintiff, Patricia Flynn has be unable to attend to her usual daily duties and
occupations and has suffered a loss of earnings and earning capacity to her great
detriment and loss.

16. As a result of the negligence and carelessness of the defendants, plaintiff,
Patricia Flynn has been caused to expend great sums of money for medical care
and treatment in an effort to cure herself of her injuries and she may be caused to
expend further such sums in to the future.

17. As a further result of the accident aforementioned, plaintiff, Walter
Flynn as husband of Patricia Flynn has been denied the society, services and

companionship of his wife to his great detriment and loss.

 

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WHEREFORE, plaintiffs, Patricia Flynn and Walter Flynn hereby demand

judgement against the defendants, the United State Department of Justice, the

Federal Bureau of Prisons and Elizabeth Atil<inson /::l the sum of fifty thousand

dollars ($50,000.00).

/s/Adamli{1 f

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